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                            NO. 23-60069


         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT


 STATE OF TEXAS; TEXAS COMMISSION ON ENVIRONMENTAL
  QUALITY; LUMINANT GENERATION COMPANY LLC; COLETO
   CREEK POWER, LLC; ENNIS POWER COMPANY, LLC; HAYS
    ENERGY, LLC; MIDLOTHIAN ENERGY, LLC; OAK GROVE
     MANAGEMENT COMPANY LLC; WISE COUNTY POWER
 COMPANY, LLC; ASSOCIATION OF ELECTRIC COMPANIES OF
  TEXAS; BCCA APPEAL GROUP; TEXAS CHEMICAL COUNCIL;
TEXAS OIL & GAS ASSOCIATION; PUBLIC UTILITY COMMISSION
 OF TEXAS; AND RAILROAD COMMISSION OF TEXAS; STATE OF
MISSISSIPPI; MISSISSIPPI DEPARTMENT OF ENVIRONMENTAL
     QUALITY; MISSISSIPPI POWER COMPANY; STATE OF
       LOUISIANA; AND LOUISIANA DEPARTMENT OF
                ENVIRONMENTAL QUALITY

                             Petitioners,

                                  v.

  UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
          and MICHAEL S. REGAN, Administrator,
        United States Environmental Protection Agency,

                            Respondents.


           MOTION FOR LEAVE TO INTERVENE
     BY SIERRA CLUB, AIR ALLIANCE HOUSTON, AND
               DOWNWINDERS AT RISK
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Counsel for Sierra Club                Filed: March 27, 2023
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                              NO. 23-60069


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 STATE OF TEXAS; TEXAS COMMISSION ON ENVIRONMENTAL
 QUALITY; LUMINANT GENERATION COMPANY LLC; COLETO
  CREEK POWER, LLC; ENNIS POWER COMPANY, LLC; HAYS
    ENERGY, LLC; MIDLOTHIAN ENERGY, LLC; OAK GROVE
     MANAGEMENT COMPANY LLC; WISE COUNTY POWER
 COMPANY, LLC; ASSOCIATION OF ELECTRIC COMPANIES OF
  TEXAS; BCCA APPEAL GROUP; TEXAS CHEMICAL COUNCIL;
TEXAS OIL & GAS ASSOCIATION; PUBLIC UTILITY COMMISSION
   OF TEXAS; RAILROAD COMMISSION OF TEXAS; STATE OF
MISSISSIPPI; MISSISSIPPI DEPARTMENT OF ENVIRONMENTAL
     QUALITY; MISSISSIPPI POWER COMPANY; STATE OF
       LOUISIANA; AND LOUISIANA DEPARTMENT OF
                ENVIRONMENTAL QUALITY,

                               Petitioners,

                                    v.

   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
           and MICHAEL S. REGAN, Administrator,
         United States Environmental Protection Agency,

                              Respondents.


           CERTIFICATE OF INTERESTED PERSONS

     The undersigned counsel of record certifies that the following

listed persons and entities as described in the fourth sentence of Fifth

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Circuit Local Rule 28.2.1 have an interest in the outcome of this case.

These representations are made in order that the judges of this court

may evaluate possible disqualification or recusal.


     1.    Petitioners: State of Texas; Texas Commission on
           Environmental Quality; Luminant Generation Company
           LLC; Coleto Creek Power, LLC; Ennis Power Company,
           LLC; Hays Energy, LLC; Midlothian Energy, LLC; Oak
           Grove Management Company LLC; Wise County Power
           Company, LLC; Association of Electric Companies of Texas;
           BCCA Appeal Group; Texas Chemical Council; Texas Oil &
           Gas Association; Mississippi Power Company; State of
           Mississippi and Mississippi Department of Environmental
           Quality; Southern Company; State of Louisiana and
           Louisiana Department of Environmental Quality; Vistra
           Asset Company LLC; Vistra Corp.; Vistra Intermediate
           Company LLC, Vistra Operations Company LLC (Parent
           company of Petitioners Luminant Generation Company LLC,
           Coleto Creek Power, LLC, Ennis Power Company, LLC,
           Hays Energy, LLC, Midlothian Energy, LLC, Oak Grove
           Management Company LLC, and Wise County Power
           Company, LLC).

     2.    Counsel for Petitioners State of Texas and Texas
           Commission on Environmental Quality: Ken Paxton,
           Attorney General of Texas; Michael R. Abrams, Assistant
           Solicitor General; Williams F. Cole, Assistant Solicitor
           General; Bill Davis, Deputy Solicitor General; Joseph N.
           Mazzara, Assistant Solicitor General; Judd Stone, Solicitor
           General; Brent Webster, First Assistant Attorney General,
           all with the Office of the Attorney General for the State of
           Texas.

     3.    Counsel for Petitioners Luminant Generation Company LLC
           and Luminant Mining Company LLC: P. Stephen Gidiere
           III; Julia B. Barber; C. Grady Moore III, Susan Scaggs
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     Stutts, and Shawn S. Shurden with Balch & Bingham, LLP;
     Stephanie Z. Moore, Daniel J. Kelly, and David W. Mitchell.

4.   Counsel for Petitioners Association of Electric Companies of
     Texas, BCCA Appeal Group, Texas Chemical Council, Texas
     Oil & Gas Association: Baker Botts L.L.P; Matthew L.
     Kuryla; Aaron M. Streett.

5.   Counsel for Petitioner State of Mississippi and Department
     of Environmental Quality: Lynn Fitch, Attorney General;
     Justin Matheny, Deputy Solicitor; Whitney H. Lipscomb,
     Deputy Attorney General all with the State of Mississippi
     Office of the Attorney General.

6.   Counsel for Petitioner State of Louisiana and Louisiana
     Department of Environmental Quality: Jeff Landry,
     Attorney General; Joseph S. St. John, Deputy Solicitor
     General; Elizabeth B. Murrill, Solicitor General; Machelle
     Hall, Assistant Attorney General with the Louisiana
     Department of Justice; Courtney J. Burdette and Jill C.
     Clark with the Louisiana Department of Environmental
     Quality.

7.   Respondents: United States Environmental Protection
     Agency; Michael S. Regan, Administrator, U.S.
     Environmental Protection Agency; David Gray, Acting
     Regional Administrator, Region 6, U.S. Environmental
     Protection Agency; Daniel Blackman, Regional
     Administrator, Region 4, U.S. Environmental Protection
     Agency; Earthea Nance, Regional Administrator.

8.   Counsel for Respondents United States Environmental
     Protection Agency and Michael S. Regan: Merrick Garland,
     Attorney General of the U.S. Department of Justice; Jin
     Hyung Lee with the U.S. Department of Justice
     Environment & Natural Resources Division; Todd Kim,
     Assistant Attorney General; Jeffrey M. Prieto.

9.   Proposed-Intervenors: Sierra Club is a non-profit
     organization that maintains open membership invitation to
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      organizations, businesses, individuals, and the public in
      general. Accordingly, Sierra Club consists of many
      individual members.

      Air Alliance Houston is a nonprofit corporation organized
      and existing under the laws of the State of Texas, with its
      headquarters in Houston, Texas. Air Alliance Houston works
      to reduce air pollution in the Houston region to protect
      public health and environmental integrity through research,
      education, and advocacy.

      Downwinders at Risk is a nonprofit corporation organized
      and existing under the laws of the State of Texas, with its
      headquarters located in Dallas, Texas. Downwinders at Risk
      is a diverse grassroots citizens group dedicated to protecting
      public health and the environment

      Neither Sierra Club, Air Alliance Houston, nor Downwinders
      at Risk have any parent companies; and no publicly-held
      company owns a 10% or greater interest in Sierra Club, Air
      Alliance Houston, or Downwinders at Risk.

10.   Counsel for Proposed-Intervenors: Joshua Smith and
      Zachary Fabish with Sierra Club; Kathleen L. Riley and
      Seth L. Johnson, with Earthjustice.

                            Respectfully submitted,

                            /s/ Joshua Smith
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             MOTION FOR LEAVE TO INTERVENE
       BY SIERRA CLUB, AIR ALLIANCE HOUSTON, AND
                 DOWNWINDERS AT RISK

     Under Federal Rules of Appellate Procedure 15(d) and 27, and

Fifth Circuit Local Rule 15.5, Sierra Club, Air Alliance Houston, and

Downwinders at Risk (collectively, the “Proposed-Intervenors”) move to

intervene in support of Respondents U.S. Environmental Protection

Agency and Administrator Michael S. Regan (collectively “EPA”) in the

above-captioned proceeding. EPA, the Texas State Petitioners,1 the

Mississippi State Petitioners,2 the Louisiana State Intervenors,3 the

Texas Industry Petitioners, 4 and Mississippi Power Company

represented that they cannot consent without reviewing the motion,

and reserve their right to respond.



1 The “Texas State Petitioners” are the State of Texas, the Texas
Commission on Environmental Quality, the Public Utility Commission
of Texas, and the Railroad Commission of Texas.
2 The “Mississippi State Petitioners” are the State of Mississippi and

the Mississippi Department of Environmental Quality.
3 The “Louisiana State Petitioners” are the State of Louisiana and the

Louisiana Department of Environmental Quality.
4 The “Texas Industry Petitioners” are Luminant Generation Company

LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays
Energy LLC, Midlothian Energy, LLC, Oak Grove Management
Company LLC, Wise County Power Company, LLC, Association of
Electric Companies of Texas, BCCA Appeal Group, Texas Chemical
Counsel, and Texas Oil & Gas Association.
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                           INTRODUCTION

     Proposed-Intervenors move to intervene in challenges to a single

EPA Clean Air Act rule that applies to 21 states, spanning seven

different EPA regions and nine federal circuits. Consistent with

Supreme Court precedent, the national rule applies a uniform

framework of policy judgments and technical methods to address the

problem of interstate ozone pollution, and disapproves or partially

disapproves 21 state Clean Air Act plan submissions that failed to

adequately reduce their respective contributions to harmful downwind

ozone pollution. 88 Fed. Reg. 9,336 (Feb. 13, 2023) (“Disapproval Rule”).

As a result of that national rule, each of the 21 states (or EPA, if the

states fail to act) must develop and implement lawful plans to reduce

their contributions to harmful interstate ozone pollution.

     Despite the Clean Air Act’s mandate to “centralize review of

‘national’” state implementation plan issues in the D.C. Circuit Court of

Appeals,5 Petitioners challenged the rule in this Court seeking to vacate




5Texas v. EPA, No. 10-60961, 2011 WL 710598, at *4 (5th Cir. Feb. 24,
2011) (transferring challenges to a multistate state implementation
plan rule to the D.C. Circuit under 42 U.S.C. 7607(b)).

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or stay implementation of EPA’s rule, either as to Texas or nationally.6

The States of Arkansas, Kentucky, Oklahoma, and Utah and other

industry petitioners separately filed challenges to the same Disapproval

Rule in the Eighth, Sixth, and Tenth Circuits; and Utah and industrial

petitioners also filed motions to stay the rule.7

     The Proposed-Intervenors have substantial interests that may be

impaired by the disposition of this case. First, Proposed-Intervenors’

members live, work, and recreate in areas across the country where

EPA has determined that air quality is unhealthy to breathe. EPA’s

Disapproval Rule disapproved 21 different states’ do-nothing plans and

will thus lead to either revised state plans or a federal plan to reduce

emissions from those 21 states that contribute to harmful levels of

interstate ozone pollution, thereby benefiting Proposed-Intervenors’

members who live in areas of the country that fail to meet or maintain




6 See Texas Pet’rs’ Mot. to Stay Final Action at 20; Texas Industry
Pet’rs’ Mot. to Stay Final Action at 21.
7 On March 16, 2023, the Tenth Circuit issued an order abating all

judicial proceedings in the consolidated cases, including the Utah and
industry petitioners’ stay motions, pending resolution of EPA’s Motion
to Transfer that case to the D.C. Circuit. Order, Utah v. EPA, No. 23-
9509 (10th Cir. Mar. 16, 2023) (consolidated with Case Nos. 23-9512,
23-9514, 23-9520, 23-9521).
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the national ozone standard. Any court order setting aside or delaying

the implementation of the Disapproval Rule would prolong Proposed-

Intervenors’ members’ exposure to levels of ozone pollution that

endangers their health and welfare.

     Second, Proposed-Intervenors have protectable interests in

upholding EPA’s Disapproval Rule. As explained more fully below, EPA

issued the challenged Disapproval Rule only after environmental

groups, including Proposed-Intervenors, filed a lawsuit to compel the

agency to fulfill its then-overdue and mandatory obligation under the

Clean Air Act to take final action on state ozone plan submissions. See

Complaint, Downwinders at Risk, et al. v. Regan, No. 4:21-cv-03551-

DMR (N.D. Cal. May 12, 2021). An order vacating or delaying EPA’s

national rule would impair Proposed-Intervenors’ members right to

ensure that the 21 states subject to EPA’s Disapproval Rule (or, if the

states fail to issue a lawful plan, EPA) fully implement the Clean Air

Act. See generally 42 U.S.C. §§ 7604, 7410(c)(1), (k).

     Finally, Proposed-Intervenors have an interest in ensuring the

uniform interpretation and application of the Clean Air Act’s mandate

to address interstate pollution. By filing for review in this Court and


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seeking to stay the Disapproval Rule, either as to Texas or nationally,

Petitioners ignored the Clean Air Act’s judicial review provision

mandating that nationally applicable actions, as well as locally

applicable actions for which EPA has issued a determination of

nationwide scope and effect, “may be filed only” in the D.C. Circuit. 42

U.S.C. § 7607(b)(1); see also Texas v. EPA, 2011 WL 710598, at *3

(holding the Clean Air Act “evinces a clear congressional intent to

centralize review of … matters on which national uniformity is

desirable,” and transferring Texas’s challenge to a SIP rule for thirteen

states to the D.C. Circuit) (citation and quotation marks omitted); S. Ill.

Power Coop. v. EPA, 863 F.3d 666, 671 (7th Cir. 2017) (concluding (that

an EPA action designating air quality nonattainment “areas across 24

states—from New York to Hawaii—and promulgated pursuant to a

common, nationwide analytical method,” was nationally applicable and

transferring to the D.C. Circuit); ATK Launch Systems, Inc. v. EPA, 651

F.3d 1194, 1197 (10th Cir. 2011) (transferring petitions for review of

EPA designations to the D.C. Circuit even though the petitions

challenged the designations of only two counties).




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      The Disapproval Rule is, on its face, nationally applicable;

alternatively, EPA reasonably found and published its finding that the

rule is “based on a determination of nationwide scope or effect.” 88 Fed.

Reg. at 9,381. Venue in this Court is therefore improper, and any ruling

staying or vacating the Disapproval Rule would upend Proposed-

Intervenors’ and the public’s interest in “centralizing judicial review of

national rules in the D.C. Circuit.” S. Ill. Power Coop., 863 F.3d at 673.

Because Proposed-Intervenors filed timely and no other party

adequately represents their interests, the Court should grant the

motion for intervention.

                             BACKGROUND

 I.      OZONE POLLUTION HARMS HUMAN HEALTH AND
         THE ENVIRONMENT.

      Ground-level ozone forms when volatile organic compounds and

nitrogen oxides react together in sunlight. 83 Fed. Reg. 25,776, 25,777

(June 4, 2018). These ozone precursor pollutants are emitted by many

different types of sources, including fossil fuel-burning power plants,

refineries, industrial facilities, and motor vehicles. Id.

      Ozone is dangerous to human health and the environment.

Exposure to ground-level ozone pollution, even for short periods of time,

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can have significant human health impacts, including asthma attacks

and cardiovascular and respiratory failure, leading to increased

hospitalizations and premature death.8 Children, the elderly, and

adults with asthma are particularly at risk.9

II.      THE CLEAN AIR ACT REQUIRES STATES AND EPA TO
         ADDRESS INTERSTATE POLLUTION.

      To address the significant health threats caused by ozone

pollution, the Clean Air Act requires EPA to establish and periodically

revise National Ambient Air Quality Standards to protect public health

and welfare from ozone’s harmful effects. 42 U.S.C. § 7409(b), (d)(1).

Pursuant to that mandate, in 2015, EPA issued a revised standard for

ozone that is more protective of human health than the previous

standard, and promises significant public health benefits. 80 Fed. Reg.

65,292 (Oct. 26, 2015).

      EPA’s issuance of the revised ozone standard triggered a series of

statutory deadlines for states and EPA. Relevant here, within three

years of any revision of the standards, each state must submit for EPA



8 80 Fed. Reg. 65,292, 65,308 (Oct. 26, 2015); EPA, Integrated Science
Assessment for Ozone and Related Photochemical Oxidants, at 2-20 to -
24, tbl.2-1 (Feb. 2013), EPA Docket No. EPA-HQ-OAR-2008-0699-0405.
9 See 80 Fed. Reg. at 65,310.

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review a state implementation plan (“SIP”) “which provides for the

implementation, maintenance, and enforcement” of the NAAQS. 42

U.S.C. § 7410(a)(1).

      Among other requirements, each SIP must ensure that pollution

from the state does not cause or contribute significantly to

nonattainment, or interfere with the maintenance of the NAAQS, in

any other state. 42 U.S.C. § 7410(a)(2)(D)(i)(I). That requirement,

commonly referred to as the Clean Air Act’s “Good Neighbor” provision,

is intended to address the fact that air pollution does not respect state

boundaries, and that pollution from upwind states often causes or

exacerbates dangerous air quality in downwind states. EPA v. EME

Homer City Gen., L.P., 572 U.S. 489, 496 (2014).

      EPA must then review and either approve or disapprove each

state’s complete plan “[w]ithin 12 months,” based on whether the plans

satisfy the Act’s requirements. 42 U.S.C. § 7410(k)(2), (3); see also 42

U.S.C. § 7410(a)(2)(D)(i)(I). If EPA disapproves a state’s plan EPA must

issue a federal plan “any time within 2 years,” unless the state corrects

its plan and the Administrator approves the corrected plan. 42 U.S.C.

§ 7410(c)(1)(B), (k)(1)(B)-(C).


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III.      EPA FAILED TO TIMELY AND ADEQUATELY
          ADDRESS CROSS-STATE POLLUTION UNDER THE
          2015 OZONE STANDARD.

       Despite the Clean Air Act’s deadlines, EPA failed to timely review

and approve or disapprove 32 state ozone plans. To compel the agency

to fulfill its statutory duty, Proposed-Intervenors and other

organizations filed a citizen suit to compel the agency to act.

Downwinders at Risk, et al. v. Regan, 4:21-cv-03551-DMR. As a result of

a consent decree resolving that case, EPA was required to take final

action approving or disapproving 20 of those state plans by January 31,

2023.10 See Consent Decree and Notice of Stipulated Extension of

Consent Decree Deadline, Downwinders at Risk, et al. v. Regan, 4:21-cv-

03551-DMR (N.D. Cal. Jan. 12, 2022 and Dec. 8, 2022).

       On February 13, 2023, EPA published the national Disapproval

Rule at issue, disapproving 21 states’ plan submissions, including plans

submitted by Texas, Mississippi, and Louisiana. 88 Fed. Reg. 9,336

(Feb. 13, 2023). As EPA explained in the final rule, in evaluating




10EPA must take final action on submissions from Arizona, Tennessee,
and Wyoming by December 15, 2023. Stipulated Extension, No. 4:21-
03551-DMR (N.D. Cal. Jan. 30, 2023). EPA took action on the nine
other states originally at issue.
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whether each state plan adequately addressed its downwind pollution

impacts, EPA applied the same four-step analytical framework that the

agency used to evaluate compliance with the Good Neighbor provision

under prior ozone standards. The Supreme Court has upheld that

approach, reasoning that a nationally uniform analytical and technical

framework is necessary to an “efficient and equitable” solution to the

problem of interstate pollution. EME Homer City Generation, L.P., 572

U.S. at 519.

     Applying that four-step framework to every state in the country,

EPA determined that the 21 states subject to the Disapproval Rule

failed to properly address their pollution impacts to other states.

Specifically, each of the 21 states subject to the Disapproval Rule failed

to include any “permanent and enforceable emissions controls” in their

submissions, as required under the Clean Air Act. See, e.g., 88 Fed. Reg.

at 9,358-60. Several states, including Texas, submitted flawed air

quality modeling that departed from EPA’s national guidance and failed

to identify ozone contributions to other states, and improperly redefined

regulatory and technical terms to avoid pollution reduction measures.

As a result of EPA’s disapproval action, EPA must promulgate federal


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plans to reduce these states’ cross-state pollution, unless the agency

approves a revised state plan submission first. See 42 U.S.C.

§ 7410(c)(1)(a).

IV.      MULTIPLE CHALLENGES TO THE SAME
         DISAPPROVAL RULE ARE PENDING IN MULTIPLE
         COURTS.

      On February 13, 2023, Utah filed a petition for judicial review of

EPA’s Disapproval Rule in the Tenth Circuit. State of Utah v. EPA, No.

23-9509 (10th Cir. Feb. 13, 2023). Utah industry petitioners filed

subsequent petitions on February 24, and March 15. PacifiCorp, et al. v

EPA, No. 23-9512 (10th Cir. Feb. 24, 2023); Utah Associated Municipal

Power Systems v. EPA, No. 23-9520 (10th Cir. Mar. 15, 2023).

      On February 14, Texas and Texas Industry Petitioners filed

petitions for judicial review of EPA’s Disapproval Rule in this Court.

Case No. 23-60069.

      The next day, on February 15, Arkansas filed a petition for review

in the Eighth Circuit. State of Arkansas, et al. v. EPA, No. 23-1320 (8th

Cir. Feb. 16, 2023). On March 20, East Texas Electric Company has

moved to intervene in the Eighth Circuit challenge.




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     On March 2, Oklahoma filed another petition in the Tenth Circuit.

State of Oklahoma, et al. v. EPA, No. 23-9514 (10th Cir. Mar. 2, 2023).

And on March 16, Oklahoma Gas and Electric filed a separate petition

for review, Oklahoma Gas & Electric v. EPA, No. 23-9521 (10th Cir.

Mar. 16, 2023).

     On March 13, Kentucky filed a petition for review in the Sixth

Circuit. Kentucky v. EPA, No. 23-216 (6th Cir. Mar. 13, 2023). On

March 17, the Kentucky Energy and Environment Cabinet filed a

separate petition for review. Kentucky Energy and Environment Cabinet

v. EPA, No. 23-3225 (6th Cir. Mar. 17, 2023).

     On March 16, Mississippi also filed a petition for review in this

Court. Case No. 23-60069. On March 17, Mississippi Power Company

filed a separate petition. Id. Louisiana then filed for review on March

20, 2023. Id.

     Thus, despite the Clean Air Act’s directive to centralize judicial

review of national rules in the D.C. Circuit, the same Disapproval Rule

that addresses 21 states throughout the country is now pending judicial

review in four different circuits. The deadline for filing petitions for

review of the Disapproval Rule is April 14, 2023.


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      Meanwhile, on March 3, 2023, the Texas State and Texas Industry

Petitioners each moved to stay the Disapproval Rule pending judicial

review. The Texas Industry Petitioners seek an order “stay[ing] EPA’s

disapproval and prohibit EPA from taking any action in reliance on that

disapproval pending conclusion of these proceedings.” Texas Industry

Pet’rs’ Mot. to Stay at 21. Additionally, on March 7 and March 15, Utah

and Utah industry petitioners moved to stay the rule in the Tenth

Circuit.11

                             ARGUMENT

      A motion for leave to intervene need only “contain a concise

statement of the interest of the moving party and the grounds for

intervention.” Fed. R. App. P. 15(d). Although Rule 15 does not specify a

standard for intervention, the Fifth Circuit considers two factors in

determining whether a party may intervene: (1) “the statutory design of

the act”; and (2) “the policies underlying intervention pursuant to

[Federal Rule of Civil Procedure 24].” Texas v. U.S. Dep’t of Energy

(“Texas v. DOE”), 754 F.2d 550, 551 (5th Cir. 1985) (citation omitted).


11As noted, the Tenth Circuit abated proceedings, pending resolution of
EPA’s motion to transfer to the D.C. Circuit. Order, Utah v. EPA, No.
23-9509 (10th Cir. Mar. 16, 2023).
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      Here, both factors weigh in favor of intervention. First, the Clean

Air Act specifically provides for citizen group participation in the

implementation and maintenance of the NAAQS. Second, the policies

underlying Federal Rule of Civil Procedure 24 support Proposed-

Intervenors’ intervention. Moreover, granting intervention is consistent

with this Court’s rulings in similar cases where citizen groups

intervened to defend EPA rules against state and industry challenges.12

The Court should do the same here.

 I.   PROPOSED-INTERVENORS HAVE CONCRETE
      INTERESTS IN PROTECTING THEIR STATUTORY
      RIGHTS UNDER THE CLEAN AIR ACT.

      Citizens have a defined statutory role in implementing the Clean

Air Act, which supports Proposed-Intervenors’ intervention. Natural

Res. Def. Council, Inc. v. Train, 510 F.2d 692, 699-700 (D.C. Cir. 1974).

This includes the right to compel agency action unlawfully withheld, 42



12See Order, Texas v. EPA, No. 18-60606 (5th Cir. Oct. 15, 2018) (ozone
nonattainment designations); See, e.g., Texas v. EPA, No. 17-60088 (5th
Cir. Mar. 23, 2017) (SO2 nonattainment designations); Order, Texas v.
EPA, No. 16-60118 (5th Cir. Mar. 28, 2016) (EPA’s regional haze plan);
Order, Southwestern Electric Power Co. v. EPA, No. 15-60821 (5th Cir.
Dec. 30, 2015) (Clean Water Act rule); see also Texas v. EPA, 690 F.3d
670 (5th Cir. 2012); Galveston-Houston Ass’n for Smog Prevention v.
EPA, 289 F. App’x 745 (5th Cir. 2008); BCCA Appeal Group v. EPA, 355
F.3d 817 (5th Cir. 2003).
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U.S.C. § 7604(a)(2); the right to participate in subsequent rulemaking,

id. § 7607(d)(5), 5 U.S.C. § 553(c); and judicial challenges to any final

action, id. § 7607(b)(1); Fed. R. App. P. 15(d).

     Because of the significant public health and environmental

impacts of ozone pollution, Proposed-Intervenors have worked for years

in the Clean Air Act rulemaking processes and judicial proceedings

leading up to the Disapproval Rule, including:

        • The Original Cross-State Air Pollution Rule. See Order, EME
          Homer City Generation L.P. v. EPA, No. 11-1302 (and
          consolidated cases) (D.C. Cir. Oct. 12, 2011).

        • The Cross-State Air Pollution Rule Update. See Order,
          Wisconsin v. EPA, No 16-1406 (and consolidated cases) (D.C.
          Cir. Jan. 31, 2017); see also Wisconsin v. EPA, 938 F.3d 303
          (D.C. Cir. 2019).

        • The Cross-State Air Pollution Rule Close-Out. Brief of
          Citizen Petitioners, New York v. EPA, No. 19-1019 (and
          consolidated cases) (D.C. Cir. Apr. 19, 2019); see also New
          York v. EPA, 781 F. App’x 4, 7 (D.C. Cir. 2019).

        • The Revised Cross-State Air Pollution Rule Update. See
          Complaint, Downwinders at Risk, et al., No. 20-cv-00349
          (D.D.C. Feb. 7, 2020); New Jersey, 475 F. Supp. 3d at 308; see
          also Midwest Ozone Group v. EPA, No. 21-1146, 2023 WL
          2337782 (D.C. Cir. Mar. 3, 2023).

        • The Disapproval Rule. See Complaint, Downwinders at Risk,
          et al. v. Regan, No. 4:21-cv-03551-DMR (N.D. Cal. May 12,
          2021).


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      In fact, EPA issued the Disapproval Rule in response to Proposed-

Intervenors lawsuit to compel the agency to fulfill its Clean Air Act

obligations to ensure that the states adequately address their harmful

downwind air pollution. See Complaint, Downwinders at Risk, et al. v.

Regan, No. 4:21-cv-03551-DMR (N.D. Cal. May 12, 2021); see also

Complaint, State of New York, et al. v. Regan, 1:21-ccv-00252-ALC

(S.D.N.Y. Jan. 12, 2021). As “participant[s]” in the legal proceedings

that led to the Disapproval Rule, Proposed-Intervenors have been

“intimately involved with the issues before the reviewing court,” Texas

v. DOE, 754 F.2d at 552, and should therefore be allowed to intervene

in support of EPA’s final rule.

II.        FEDERAL RULE OF CIVIL PROCEDURE 24 FAVORS
           INTERVENTION.

      Proposed-Intervenors satisfy each of the liberally-construed

requirements for intervention. See Entergy Gulf States Louisiana,

L.L.C. v. EPA, 817 F.3d 198, 203 (5th Cir. 2016).

      A.    The Motion is Timely.

      Proposed-Intervenors’ Motion is filed “promptly” after the

Petitioners filed successive petitions for review on February 14, March

16, and March 17, 2023; and more than “14 days prior to the due date of

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the brief of the party supported by the intervenor.” Fifth Circuit Rule

15.5. The Court has not yet established a briefing schedule, and

therefore Proposed-Intervenors’ participation will not delay the

proceedings or prejudice any party.

     B.    Proposed-Intervenors Have Protectable Interests in
           Upholding EPA’s National Disapproval Rule.

     Proposed-Intervenors have “direct, substantial, and legally

protectable” interests in upholding EPA’s Disapproval Rule. Texas v.

DOE, 754 F.2d at 552.

     First, Proposed-Intervenors and their members have protectable

interests in ensuring states or EPA implement required Clean Air Act

plans reducing ozone pollution that impairs their use and enjoyment of

their own property, nearby recreation opportunities, and their

communities. See Nat. Res. Def. Council v. EPA, 643 F.3d 311, 317-19

(D.C. Cir. 2011) (organization whose members lived in nonattainment

areas and asserted that pollution levels adversely affected their health

and forced them to reduce time spent outside demonstrate protectible

interest). As reflected in the attached declarations, Proposed-

Intervenors’ members live, work, recreate, and breathe in areas of the

country with unhealthy levels of smog, which EPA has determined is

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caused, in part, by sources in Texas, Mississippi, and Louisiana. See 88

Fed. Reg. 9,356-60; 42 U.S.C. § 7409(b)(1) (EPA’s ozone standard must

be set at levels “requisite to protect the public health.”).13 For example,

Downwinders at Risk and Sierra Club member Misti O’Quinn and her

young children, who live near Dallas, Texas, in an area that fails to

meet the ozone standard, suffer from severe asthma and other

respiratory illness. She avoids taking her family outdoors on high ozone

days.14 Likewise, Proposed-Intervenors members and their families—

who reside or work in Illinois, Missouri, New Mexico, Texas, Wisconsin,

and other states that have poor air quality exacerbated by Texas,

Mississippi, and Louisiana pollution—are forced to stay indoors on poor




13 See EPA-HQ-OAR-2021-0663-083 at 243, 256, 366-67 (Texas
contributes to nonattainment in Illinois, Wisconsin, and New Mexico;
Louisiana contributes to nonattainment in Dallas and Houston; and
Mississippi contributes to nonattainment in Houston); EPA-HQ-OAR-
202-0663-0070 (state-by-state impacts to nonattainment and
maintenance receptors); see also O’Quinn Dec. ¶¶ 4-8 (lives and works
in Dallas-Fort Worth); Mannchen Decl. ¶¶ 2-4 (lives in Houston);
Hadayia ¶¶ 2-6 (same); Owens Decl. ¶¶ 2-5 (lives in Wisconsin; works
and visits Illinois); Lewis Decl. ¶¶ 2-5 (same); Reyes Decl. ¶¶ 3-10 (lives
in New Mexico nonattainment area).
14 O’Quinn Decl. ¶¶ 12-15.



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air quality days, or avoid engaging in outdoor activities like gardening,

going to the farmer’s market, hiking, biking, and sightseeing.15

     EPA’s Disapproval Rule ultimately will require states (or, if the

states fail to correct their plans, EPA) to develop and implement lawful

plans addressing interstate ozone from 21 states, including Texas,

Louisiana and Mississippi, which causes or contributes to unhealthy

ozone levels and harms Proposed-Intervenors’ members. Thus, EPA’s

national Disapproval Rule will benefit Proposed-Intervenors’ members.

Conversely, Petitioners’ challenges seek to vacate the Disapproval Rule,

effectively allowing each state to continue to do nothing to eliminate

their contribution to interstate pollution, and would therefore harm

Proposed-Intervenors’ members. See Texans United for a Safe Econ.

Educ. Fund v. Crown Cent. Petroleum Corp., 207 F.3d 789, 792 (5th Cir.

2000) (“breathing and smelling polluted air” suffices to demonstrate

injury in fact); see also Crossroads Grassroots Pol’y Strategies v. FEC,

788 F.3d 312, 317-18 (D.C. Cir. 2015) (finding a protectable interest




15See, e.g, Owen Decl. ¶¶ 11-13; Wiley Decl. ¶¶ 8-10; O’Quinn Decl. 5-6,
10-11; Mannchen ¶¶ 5-7; Lewis Decl. ¶¶ 7-8; Hadayia ¶ 2; Wiley Decl.
¶¶ 5-10; Reyes Decl. ¶¶ 9-12.

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supporting intervention where a party would benefit from agency

action).16

      Second, as organizations dedicated to protecting public health and

the environment, Proposed-Intervenors have an interest in ensuring

that the Clean Air Act is properly implemented.17 “[C]oncern for

enforcing the statutory scheme” can provide grounds for intervention.

Ceres Gulf v. Cooper, 957 F.2d 1199, 1204 (5th Cir. 1992). Moreover,

Proposed-Intervenors have a protectable interest in the “even and

consistent” interpretation and implementation of the Clean Air Act’s




16 A proposed intervenor need not show Article III standing where, as
here, they do not seek relief that is different than that which is sought
by a party with standing. Town of Chester, N.Y. v. Laroe Estates, Inc.,
137 S. Ct. 1645, 1651 (2017). If a movant has Article III standing,
however, the party is “deemed to have a sufficiently substantial interest
to intervene” under the Rule 24 interest test. Meek v. Metro. Dade
County, 985 F.2d 1471, 1480 (11th Cir. 1993).
       Here, the attached declarations establish Proposed-Intervenors’
standing. Proposed-Intervenors’ members suffer injury to their health,
recreational, and aesthetic interests, caused by excess ozone pollution,
which would be redressed, in part, by the Disapproval Rule and
statutorily-mandated pollution reductions that would be required of the
21 states subject to the rule. Proposed-Intervenors’ interests are
germane to their organizations’ purposes. Fashho Decl. ¶¶ 5, 6-9.
17
   See Levenshus Decl. ¶ 2; Hadayia ¶¶ 2-4.

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procedural and substantive requirements. Halogenated Solvents Indus.

Alliance v. Thomas, 783 F.2d 1262, 1265 (5th Cir. 1986).

     Finally, Proposed-Intervenors have a substantial interest in

defending and implementation of the consent decree Proposed-

Intervenors successfully litigated to obtain, which requires EPA to take

final action on the interstate ozone transport plans submitted by Texas,

Mississippi, and Louisiana. Consent Decree, Downwinders at Risk, et al.

v. Regan, 4:21-cv-03551-DMR (Jan. 12, 2022). In sum, Proposed-

Intervenors have an “interest” in this litigation within the meaning of

Rule 15(d).

     C.       The Disposition of the Action May Impair Sierra
              Club’s Interests.

     Under Rule 24, a proposed intervenor has a “minimal burden” to

demonstrate “the disposition of the action ‘may’ impair or impede their

ability to protect their interests.” Brumfield v. Dodd, 749 F.3d 339, 344,

346 n.2 (5th Cir. 2014) (citation omitted).

     The disposition of this litigation may impair each of Proposed-

Intervenors’ protectible interests. First, Proposed-Intervenors interests

in reducing ozone pollution may be impaired because the Petitioners

ultimately seek to vacate or delay EPA’s Disapproval Rule, thereby
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prolonging Proposed-Intervenors’ members exposure to unhealthy levels

of pollution, and “remov[ing]” the health, environmental, and aesthetic

“benefit[s]” expected from implementation of EPA’s rule. See Crossroads

Grassroots Pol’y Strategies, 788 F.3d at 312, 317-18 (intervention

warranted where petitioners’ challenge would “remove” the “benefit[s]”

of the rule).

      Second, Proposed-Intervenors’ interest in the “even and

consistent” interpretation and implementation of the CAA may also be

impaired. Halogenated Solvents, 783 F.2d at 1265; Texas v. EPA, 2011

WL at 710598, at *4 (“piecemeal review of national issues in the

regional courts, ... risks potentially inconsistent results”). By filing for

review and seeking to stay the Rule—whether as to Texas or in its

entirety—in this Court,18 Petitioners ignored the Clean Air Act’s

judicial review provisions requiring centralized review of nationally

applicable rules, 42 U.S.C. § 7607(b)(1), and they seek to upend EPA’s




18 See Texas Pet’rs’ Mot. to Stay Final Action at 20 (“The Court should
stay, pending review, the part of the Final Rule that disapproves
Texas’s SIP.”); Texas Industry Pet’rs’ Mot. to Stay Final Action at 21
(“the Court should stay EPA’s disapproval and prohibit EPA from
taking any action in reliance on that disapproval pending conclusion of
these proceedings.”).
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attempt to address the national problem of interstate pollution in a

uniform and equitable way. EME Homer City Generation, L.P., 572 U.S.

at 519, 524.

      In addition, EPA’s Disapproval Rule relies on and applies the

same policy judgments and analytical methodology to all 21 states

subject to the rule. 88 Fed. Reg. at 9,380. Accordingly, any court order

setting aside the rule could result in a patchwork of potentially

conflicting, circuit-specific requirements for addressing the national

problem of interstate smog pollution. See S. Ill. Power Coop., 863 F.3d

at 674 (“Overlapping, piecemeal, multicircuit review of a single,

nationally applicable EPA rule is potentially destabilizing to the

coherent and consistent interpretation and application of the Clean Air

Act.”).

      Finally, the disposition of this case would impair Proposed-

Intervenors’ interest in implementing the consent decree that required

EPA to take action approving or disapproving the states’ various

interstate ozone pollution plans. The Disapproval Rule is the product of

that litigation, and a court order vacating or staying the national rule

would effectively negate or delay the implementation of the court


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ordered consent decree Proposed-Intervenors successfully litigated to

obtain.

     D.    No Existing Party Adequately Represents Proposed-
           Intervenors’ Interests.

     Proposed-Intervenors also satisfy the “minimal burden” of

demonstrating that the existing parties’ interests “may not align

precisely,” and therefore “might” not adequately represent their

interests. Brumfield v. Dodd, 749 F.3d 339, 345-46 (5th Cir. 2014);

Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538-39 n.10

(1972). Petitioners plainly do not represent Proposed-Intervenors’

interests because they seek to vacate EPA’s Disapproval Rule.

     EPA’s representation “may be” inadequate for several reasons.

First, EPA initiated the underlying SIP disapproval rulemaking only

after Proposed-Intervenors sued EPA to force the agency to satisfy its

statutory duties under the Clean Air Act. Downwinders at Risk, et al. v.

Regan, No. 4:21-cv-03551-DMR (N.D. Cal. May 12, 2021). Proposed-

Intervenors filed suit against EPA precisely because the agency has

failed to represent their interests in securing timely and lawful action

addressing interstate pollution plans submitted by the states. 42 U.S.C.

§ 7410(a)(2)(D), (k). Even with EPA’s issuance of the Disapproval Rule,

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Proposed-Intervenors and the agency are adversely situated because

EPA has yet to fulfill its statutory and consent decree obligations to

approve or disapprove all state plan submissions.19 The government

cannot adequately represent Proposed-Intervenors’ interests “in view of

the prior lengthy litigation by these [Proposed-Intervenors] against the”

EPA “and the necessity of a court order to force” EPA to issue the

designations that Petitioners challenge. Safari Club Int’l v. Salazar,

281 F.R.D. 32, 42 (D.D.C. 2012); see also Entergy, 817 F.3d at 205

(inadequate representation where the agency “significantly delayed”

issuing the challenged decision).

     Second, courts have concluded that a party’s representation “may”

be inadequate where, as here, the existing governmental entity has an

obligation to balance multiple, conflicting public interests and not just

the proposed intervenor’s private interests. Brumfield, 749 F.3d at 345;

see also WildEarth Guardians v. Nat’l Parks Serv., 604 F.3d 1192, 1200

(10th Cir. 2010) (“Where a government agency may be placed in the




19EPA must finalize action on plan submissions from Arizona,
Tennessee, and Wyoming by December 15, 2023. Stipulated Extension,
No. 4:21-03551-DMR (N.D. Cal. Jan. 30, 2023).
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position of defending both public and private interests,” “the burden of

showing inadequacy of representation is satisfied.”).

       Here, Proposed-Intervenors likely will make different arguments

than EPA. Proposed-Intervenors have, for example, urged EPA to

consider actual, monitored ozone levels particularly when EPA’s

modeling appears to underpredict ozone nonattainment problems.20 And

Proposed-Intervenors have historically disagreed with EPA on critical

elements of its administration of the Clean Air Act’s framework to

reduce ozone pollution, including interstate ozone pollution. See

Wisconsin v. EPA, 938 F.3d 303 (D.C. Cir. 2019); New York v. EPA, 781

F. App’x 4, 7 (D.C. Cir. 2019). Where, as here, a proposed intervenor’s

interests are “related, but not identical,” governmental representation

“may be inadequate” and intervention is warranted. Brumfield, 749

F.3d at 345; see also Crossroads Grassroots Pol’y Strategies, 788 F.3d at

314 (“doubtful friends may provide dubious representation.”).

       Finally, Proposed-Intervenors submit that they “may also be likely

to serve as a vigorous and helpful supplement to EPA’s defense.” Nat.

Res. Def. Council v. Costle, 561 F.2d 904, 912-13 (D.C. Cir. 1977).


20   See EPA-HQ-OAR-2020-0272-0147; EPA-HQ-OAR-2021-0668-0758.
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Proposed-Intervenors have a long history of effective and informative

advocacy in administrative and judicial proceedings regarding

interstate ozone pollution. Moreover, Proposed-Intervenors are likely to

offer a different perspective because their members are adversely

impacted by ozone pollution in a way that EPA is not.21 In short,

Proposed-Intervenors cannot rely on EPA to make all arguments that

Proposed-Intervenors believe should be advanced to protect their

members’ interests.

                                      ***

        Proposed-Intervenors satisfy the elements for intervention of

right. Alternatively, Proposed-Intervenors meet the requirements for

permissive intervention because they will assert defenses that share

questions of law and fact with Petitioners’ challenges, including

whether the rule is supported by the agency’s record. Fed R. Civ. P.

24(b)(1).

                               CONCLUSION

        The Court should grant Proposed-Intervenors motion to intervene

in each of the petitions filed under Case No. 23-60069.


21   See attached declarations.
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                             Respectfully submitted,

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                 CERTIFICATE OF CONFERENCE

     Pursuant to Fifth Circuit Rule 27.4, counsel for Sierra Club

conferred with counsel for the other parties in this case, who

represented that they cannot consent without reviewing the motion,

and reserve their right to respond.

     Dated: March 27, 2023

                                  /s/ Joshua Smith
                                  Joshua Smith
                                  Counsel for Sierra Club
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CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT

     The undersigned counsel states that this motion complies with

Fed. R. App. P. 27(d)(2)(A) because it contains 5,138 words, excluding

the caption, signature blocks, and required certifications, as counted by

a word processing system and, therefore, is within the word limit. This

motion also complies with typeface requirements of Fed. R. App. P.

27(d)(1)(E) because it has been prepared in a proportionally spaced

typeface in 14-point Century Schoolbook font.

     Dated: March 27, 2023

                                        /s/ Joshua Smith
                                        Joshua Smith
                                        Counsel for Sierra Club
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      CERTIFICATIONS UNDER ECF FILING STANDARDS

     Pursuant to paragraph A(6) of this Court’s ECF Filing Standards,

I hereby certify that (1) required privacy redactions have been made,

5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the

paper document, 5th Cir. R.25.2.1; and (3) the document has been

scanned for viruses with the most recent version of a commercial virus

scanning program and is free of viruses.

     Dated: March 27, 2023

                                        /s/ Joshua Smith
                                        Joshua Smith
                                        Counsel for Sierra Club
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                      CERTIFICATE OF SERVICE

     On this 27th day of March, 2023 a true and correct copy of the

foregoing Motion For Leave To Intervene By Sierra Club, Air Alliance

Houston, and Downwinders at Risk was filed with the electronic case

filing (“ECF”) system of the U.S. Court of Appeals for the Fifth Circuit,

which will provide electronic notice to counsel of record.


                                        /s/ Joshua Smith
                                        Joshua Smith
